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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Cheriese D. Johnson               )
                                  )          CIVIL ACTION NO.
      Plaintiff,                  )
                                  )
v.                                )
                                  )
Carter’s Retail, Inc. and         )          JURY TRIAL DEMANDED
Carter’s, Inc.,                   )
                                  )
      Defendants.                 )
                                  )
_________________________________ )


       COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

      NOW INTO COURT, through undersigned counsel, comes Plaintiff,

Cheriese D. Johnson, who files this Complaint for Injunctive Relief and

Damages against Defendant, Carter’s Retail Inc. and Carter’s, Inc., alleging as

follows:

                        JURISDICTION AND VENUE

                                        1.

      Plaintiff asserts claims under The Americans With Disabilities Act

Amendments Act of 2008, 42 U.S.C. §§ 12101, et seq., Pub. L. No. 110-325, 122

Stat. 3553 (“ADAAA”), The Family and Medical Leave Act, 29 U.S.C. §§ 2601, et.

seq. (“FMLA”), and other applicable federal statutes, regulations, and rules. This

Court has subject matter jurisdiction under 28 U.S.C. § 1331 and §1337.

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                                       2.

      Venue is appropriate in this judicial district under 28 U.S.C. § 1391.

                                       3.

      Plaintiff timely filed a Charge of Discrimination with the United States

Equal Employment Opportunity Commission ("EEOC") on May 29, 2019, a

true and accurate copy of which is attached as Exhibit A and incorporated by

reference.

                                       4.

      The EEOC issued a Notice of Right to Sue dated May 25, 2021, a true

and accurate copy of which is attached as Exhibit B. This lawsuit was filed

within ninety days of Plaintiff's receipt of the EEOC's Notice of Right to Sue.

                                       5.

      Plaintiff has properly and timely exhausted all applicable administrative

remedies and conditions precedent for seeking judicial relief.

                                  PARTIES

                                       6.

      Plaintiff is an individual who resides in Georgia.

                                       7.

      Plaintiff was formerly employed by Defendants at Defendants’ offices




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located in Atlanta, Georgia. The causes of action pled herein arise in connection

with Defendants’ former employment of Plaintiff and its alleged employment

practices occurred within this judicial district.

                                        8.

      Upon information and belief, Defendants Carter’s Retail, Inc. and

Carter’s, Inc. (collectively “Defendants” herein) are foreign for profit

corporations that maintain a shared principal office at 3438 Peachtree Road

NE, Atlanta, Georgia 30326 and each is authorized to conduct and does conduct

business within the State of Georgia and each is subject to the jurisdiction of

this Court.

                                        9.

      All of the acts and omissions complained of herein occurred within the

Northern District of Georgia.

                                       10.

      Each of the Defendants constitutes a person engaged in commerce or in

an industry or activity affecting commerce who, at all relevant times, employed

50 or more employees within 75 miles. Defendants are covered by the FMLA.

At all times relevant, Plaintiff was an eligible employee under the FMLA.

                                       11.

      At all relevant times, Defendants have continuously been an employer



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engaged in an industry affecting commerce. Defendants are covered by the

ADAAA.

                        FACTUAL BACKGROUND


                                     12.

        Plaintiff's full-time employment with one or both of the

Defendants began on or about June of 2016, although Plaintiff began

working for Defendants as an independent contractor in December of

2015.

                                     13.

        Beginning in June of 2016 Defendants employed Plaintiff with the job

title of Senior Human Resources Business Solutions Analyst.

                                      14.

        Defendants paid Plaintiff a salary of approximately $120,00 annually

together with certain fringe benefits, including health care.

                                      15.

        Defendants determined before hiring Plaintiff that he was fully

qualified for the position of Senior Human Resources Business Solutions

Analyst.




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                                      16.

     At all times relevant, Plaintiff was fully qualified for her job with
Defendants.
                                      17.

       During the time Plaintiff worked for Defendants, Defendants made use

 of an employee handbook that applied to Plaintiff (the “Handbook”).

                                      18.

       As a Senior Human Resources Business Solutions Analyst, Plaintiff

 performed her essential job functions well and in a satisfactory manner,

 without any complaint from her superiors.

                                       19.

       In or about September of 2016, Plaintiff met with representatives

 of Defendants and notified Defendants of her medical condition, ongoing

 treatment and to discuss reasonable accommodations, consistent with

 correspondence from her treating physician suggesting work limitations.

                                       20.

      As a result of her condition of health, Plaintiff had begun suffering

impairments for which he requested and needed reasonable accommodations.

                                      21.

       Plaintiff received treatment from health care providers related to her

 symptoms and impairments.



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                                    22.

      Defendants agreed to comply with the accommodations initially

suggested by Plaintiff’s treating physician in September of 2016, and she was

correspondingly permitted to work from home on occasion, record in-person

meetings or take written notes in meetings.

                                    23.

      While the accommodations worked for some time, Plaintiff’s supervisors

began to complain to Plaintiff that her illness was affecting her job

performance.

                                    24.

      In response, Plaintiff contacted Defendant’s Human Resources

personnel and informed them that she was preparing to undergo significant

diagnostic surgery in attempt to confirm her diagnosis.

                                    25.

      Plaintiff did indeed undergo two invasive procedures in or about

January or February of 2017.

                                    26.

      Because Plaintiff had not yet become eligible for FMLA benefits, her

time away from work was considered a medical leave of absence.

                                    27.



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         After being on medical leave of absence, Plaintiff attempted to return

to work in or about April of 2017 but found that she was not yet prepared

medically to return, experiencing cognitive deficits, causing her to go back on

leave.

                                       28.

         In June of 2017, Plaintiff underwent a major surgery as necessary to

advance her treatment for what by then had been diagnosed as a rare auto-

immune disease.

                                       29.

         Plaintiff suffered complications from the June 2017 surgical procedure

and was re-admitted to the hospital for a week.

                                       30.

         Thereafter, Plaintiff attempted to discuss accommodations with

Defendants’ agents in her attempt to return to work full time but Defendants

continued to deny her requests to return to work and refused to engage in any

further discussions regarding options for reasonable accommodations.

                                       31.

         In or about November of 2017, Plaintiff had an additional surgical

procedure that rendered her incapable of working for several weeks while

Plaintiff regained the ability to speak.



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                                       32.

      In or about December of 2017, Plaintiff was desperate to return to work

and contacted Defendants’ agent, Kyndal Burton in the Human Resources

Department, who assured Plaintiff that her position was still available to her

upon her return.

                                       33.

      In December of 2017, in effort to make her return to full-time

employment,        Plaintiff’s   treating    physician   authored     several

recommendations in attempt to meet Carter’s demands while not overtaxing

Plaintiff and upsetting the progress she was making medically.

                                       34.

      Defendants rejected each of Plaintiff’s treating physicians’ reasonable

accommodations requests issued in December of 2017 and Plaintiff’s request

to return to work was, thus, denied.

                                       35.

      Frustrated with Defendants’ refusals of her treating physician’s

proposed accommodations, in January of 2018 Plaintiff once again contacted

Kyndal Burton in Defendants’ Human Resources Department, where upon

she was told that she would not be permitted to return to work unless she was

100% healthy without any restrictions.



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                                       36.

      In the same exchange, Defendants’ agent Kyndal Burton informed

Plaintiff that her disability “did not fit with the culture of the company,”

overtly indicating that Defendants would be making no further attempts to

accommodate Plaintiff.

                                       37.

      Plaintiff immediately complained that she was being discriminated

against because of her disability, but her complaints yielded no constructive

response or assistance from Defendant’s agents.

                                       38.

      In December of 2018, Plaintiff received correspondence from

Defendants terminating her employment, but the termination was revoked

when Plaintiff complained that the termination was, in her estimation,

unlawful as based on her disability.

                                       39.

      Thereafter, Plaintiff was still not permitted to return to work with

reasonable accommodation; rather, she was left on medical leave for a

prolonged period, in a form of employment “limbo”.

                                       40.

      On or about February 25, 2019, Plaintiff discovered that her



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employment with Defendants had been terminated when she was informed

by one of her care providers while attempting to process a payment that her

medical insurance and benefits had been cut off.

                                      41.

      While Defendants claim that multiple attempts were made to contact

her to discuss her employment status in 2018, in reality Plaintiff heard

nothing from her former employer for nearly the entire year of 2018, contact

only being re-established when she contacted Defendants to inquire about

2019 healthcare enrollment.

                                      42.

      Without the ongoing healthcare benefits that Plaintiff so desperately

needed in her attempt to stave off the life-threatening and debilitating effects

of her auto-immune disease, Plaintiff’s health has declined precipitously since

her termination and the cessation of her health benefits, as she cannot afford

to pay for the extensive treatments needed out-ot-pocket.

                                      43.

      When communicating with Defendants concerning her conditions and

impairments, Plaintiff believed in good faith that she was entitled to

reasonable accommodation and that Defendants’ refusal to accommodate her

was an improper employment practice in violation of her rights.



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                                     44.

      At all relevant times, Defendants knew that Plaintiff had a "disability"

as that term is defined under the ADAAA and applicable federal regulations.

                                     45.

      Defendants could have accommodated Plaintiff’s and her physicians’

requests for reasonable accommodation without undue hardship to its

business.

                                     46.

      Defendants undertook no significant steps to evaluate and explore with

Plaintiff whether it could grant her and her physicians’ requests for

accommodation without undue hardship to its business.

                                     47.

     Thereafter, Defendants unilaterally terminated Plaintiff’s employment

relationship with Defendants.

                                     48.

      Plaintiff’s conditions and impairments alleged above were not both

transitory and minor.

                                     49.

      Prior to terminating Plaintiff's employment, Defendants did not afford




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Plaintiff an opportunity to correct any deficiency in her job performance upon

which it purportedly based its decision to terminate her employment and

otherwise failed to follow its own Handbook, policy and procedure.

                                      50.

      Prior to terminating Plaintiff's employment, Defendants did not follow,

and by terminating Plaintiff precluded her from following, the grievance

procedure in its Handbook.

                                      51.

      Under the Handbook, Defendants could have imposed a less severe

form of discipline than termination of Plaintiff’s employment.

                                      52.

      Upon information and belief, Defendants historically have imposed less

severe form of discipline than termination for employees who did not possess

a disability under the ADAAA.

                                      53.

      Pursuant to the Handbook and/or Defendants’ policy and customary

employment practice, Defendants have used less severe forms of discipline

than job termination (such as suspension, probationary action, and demotion)

to discipline employees who did not possess a disability under the ADAAA.




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                                        54.

      By not giving Plaintiff some form of discipline less severe than job

termination (such as suspension, probationary action or demotion),

Defendants treated Plaintiff differently and less favorably than it has treated

employees who did not possess a disability under the ADAAA.

                                        55.

      Defendant's actual motivation in terminating Plaintiff's employment

was not Plaintiff's job performance.

                                       56.

      Defendant's actual motivation in terminating Plaintiff's employment

was not a legitimate, non-discriminatory, and non-retaliatory motivation.

                                       57.

      Upon information and belief, after Defendants terminated Plaintiff's

employment, Defendants employed one or more individuals to perform

Plaintiff’s former job duties who did not have a disability.

                                       58.

       At the time of the adverse employment actions taken by Defendants

 against Plaintiff, Defendants knew that Plaintiff suffered from the

 impairments and conditions described above. At all relevant times,

 Defendants’ supervisors identified above acted within the scope of their



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 employment and on behalf of Defendants.

                               COUNT I: ADAAA
                          (Disability Discrimination)

                                       59.

       Plaintiff incorporates herein by reference as if restated verbatim each

 paragraph of her Complaint.

                                       60.

       At all relevant times, Plaintiff was qualified for her job.

                                       61.

      At all times relevant, Plaintiff was a qualified individual with a

disability, or a record of a disability, within the meaning of the ADAAA and

applicable regulations.

                                        62.

      At all times relevant, Defendants had notice and knew of Plaintiff's

disability.

                                       63.

      At all times relevant, Plaintiff was capable of performing the essential

functions of her job either with or without reasonable accommodation.

                                       64.

      Defendants failed to satisfy their duty under the ADAAA to engage in an




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interactive process to determine whether and how they might reasonably

accommodate Plaintiff's disability.

                                         65.

       Defendants could have reasonably accommodated Plaintiff's disability

 without undue hardship.

                                         66.

       Plaintiff was unlawfully subjected to discrimination because of an

 actual disability or a record of a disability.

                                         67.

       At all relevant times, Defendants regarded Plaintiff as having an

 impairment that was not transitory and minor and took action prohibited

 under the ADAAA by terminating Plaintiff’s employment on that basis.

                                         68.

       Plaintiff was replaced or treated less favorably than other employees of

 Defendant who were not disabled or impaired.

                                         69.

       Plaintiff was subjected to adverse employment actions up to and

 including termination of employment, on account of her disability or

 Defendant’s perceptions of impairments, or both.




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                                       70.

      Defendants intentionally engaged in said discriminatory practices with

malice or reckless indifference to Plaintiff's federally protected rights.

                                       71.

      As a direct result of Defendants’ discrimination in violation of the

ADAAA retaliation, Plaintiff suffered and continues to suffer harm, including

but not limited to a loss of income, benefits, prestige and promotional

opportunities, as well as mental and emotional distress and other actual and

compensatory damages, for which he is entitled to recover from Defendants

in an amount to be determined by the enlightened conscience of a jury.

                                       72.

      Defendants’ actions were willful, intentional, malicious, and conducted

in bad faith with callous and/or reckless indifference to Plaintiff’s federally-

protected rights, thereby entitling Plaintiff to an award of punitive damages.

                                       73.

      Plaintiff is entitled to an award of costs, including reasonable attorneys’

fees, as a result of Defendants’ discrimination in violation of the ADAAA.

                                       74.

      Plaintiff is entitled, in the Court’s discretion, to injunctive and other




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 equitable relief to remedy and enjoin Defendants’ violations of the ADAAA.

                              COUNT II: ADAAA
                                (Retaliation)

                                       75.

      Plaintiff incorporates herein by reference as if restated verbatim each

paragraph of her Complaint.

                                       76.

      By reporting, complaining of and opposing the discriminatory practices

and treatment described above to Defendants, Plaintiff engaged in statutorily

protected activity under the ADAAA.

                                       77.

      Defendants retaliated against Plaintiff by taking adverse employment

actions, including a disciplinary write up and termination of employment,

against her in reprisal for statutorily protected activity.

                                       78.

      Defendants' adverse employment action and Plaintiff’s statutorily

protected activity were in close temporal proximity, were not wholly unrelated,

and were causally linked.

                                       79.

      As a direct result of Defendants’ retaliation in violation of the ADAAA,




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Plaintiff suffered and continues to suffer harm, including but not limited to a

loss of income, benefits, prestige and promotional opportunities, as well as

mental and emotional distress and other actual and compensatory damages,

for which he is entitled to recover from Defendants in an amount to be

determined by the enlightened conscience of the jury.

                                      80.

      Defendants’ actions were willful, intentional, malicious, and conducted

in bad faith with callous and/or reckless indifference to Plaintiff’s federally-

protected rights, thereby entitling Plaintiff to an award of punitive damages.

                                      81.

      Plaintiff is entitled to an award of costs, including reasonable attorneys’

fees, as a result of Defendants’ retaliation in violation of the ADAAA.

                                      82.

      Plaintiff is entitled, in the Court’s discretion, to injunctive and other

equitable relief to remedy and enjoin Defendant 's violations of the ADAAA.

                            COUNT III: FMLA
                  (Violation of the FMLA/Interference
                           with FMLA rights)

                                      83.

      Plaintiff incorporates herein all of the above paragraphs of her




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Complaint.

                                      84.

      In or about June of 2017, Plaintiff became an eligible employee under

the FMLA.

                                       85.

      At all relevant times, Plaintiff’s above described conditions and

impairments involved a period of incapacity combined with continuing

treatment by a health care provider, were chronic, and/or required multiple

treatments by a health care provider. Plaintiff had a “serious health condition”

within the meaning of the FMLA and applicable federal regulations.

                                       86.

      Plaintiff gave appropriate notice of her need to be absent from work in

 that, because he could not foresee the need for leave, he notified Defendants

 as soon as practicable after she learned of the need for leave.

                                       87.

      Plaintiff was entitled to take leave under the FMLA after her one year

anniversary of employment with Defendants.

                                       88.

      Plaintiff gave notice to Defendants of her need and intention to take
      leave.




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                                          89.

     Defendants failed to provide Plaintiff with written notice detailing the

specific expectations and obligations of Plaintiff and explaining consequences

of a failure to meet those obligations.

                                          90.

     Plaintiff was terminated not long after returning from leave.

                                          91.

     Plaintiff’s taking leave played at least a motivating part in Defendants’

decision to take adverse employment actions against Plaintiff.

                                          92.

     Defendants interfered with, restrained and/or denied the exercise or

attempt to exercise by Plaintiff of rights under the FMLA, in violation of the

FMLA.

                                          93.

     As a result of Defendants’ violation of the FMLA, Plaintiff is entitled to

recover, actual damages as allowed by the FMLA, liquidated damages, and

her costs in prosecuting this action, including reasonable attorneys’ fees.

                                          94.

     Plaintiff is entitled in the Court’s discretion to injunctive and other




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equitable relief available under the FMLA, or other applicable law, to remedy

and enjoin Defendant’s violations of the FMLA.

                            COUNT IV: FMLA
                     (Discrimination/Retaliation for
                      The Exercise of FMLA Rights)

                                    95.

     Plaintiff incorporates herein all of the above paragraphs of her

 Complaint.

                                     96.

     Plaintiff engaged in statutorily protected activity under the FMLA.

                                     97.

     Plaintiff suffered adverse employment actions.

                                     98.

     Plaintiff’s taking leave played at least a motivating part in Defendants’

decision to take adverse employment actions against Plaintiff, including a

disciplinary write up and termination of employment.

                                     99.

     Plaintiff was treated less favorably than an at least one employee who

had not requested leave.

                                    100.




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      A causal connection exists between the adverse employment actions

above and Plaintiff's exercise of her FMLA rights


                                      101.

      Defendants retaliated against Plaintiff as a result of Plaintiff’s exercise

or attempted exercise of rights under the FMLA and violated the FMLA.

                                      102.

      As a result of Defendant’s violation of the FMLA, Plaintiff is entitled to

recover actual damages as allowed by the FMLA, liquidated damages, and her

costs in prosecuting this action, including reasonable attorneys' fees.

                                      103.

      Plaintiff is entitled in the Court's discretion to injunctive and other

equitable relief available under the FMLA, or other applicable law, to remedy

and enjoin Defendant's violations of the FMLA.

                   COUNT V: Discriminatory Discharge

                                      104.

      Plaintiff incorporates herein all of the above paragraphs of her

 Complaint.

                                      105.

      Defendants’ conduct alleged herein renders Defendants liable unto




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Plaintiff for discriminatory discharge, as Plaintiff was terminated because

of her chronic disability.

                                     106.

    As alleged above, Plaintiff suffered from a well-established and fully

diagnosed medical disability.

                                     107.

    Plaintiff was fully qualified for her job as a Senior Human Resources

Business Solutions Analyst.

                                     108.

    Plaintiff suffered an adverse employment action because of her

disability, as Defendants would not have terminated her employment but

for the existence of her disability, which Defendants refused to

accommodate with reasonable measures.

                                     109.

    As a direct and proximate result of Defendants’ discriminatory

termination of Plaintiff’s employment, she has suffered significant damages,

including but not limited to the loss of vital medical benefits necessary to

stave off the progression of her chronic and potentially terminal illness,

such amount of damages to be decided by a jury at trial.




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                            Jury Demand

                                  110.

 Plaintiff demands trial by jury on all issues so triable herein.



 WHEREFORE, Plaintiff prays:

 (a) That the Court declare the Defendants’ actions, policies, and

 practices alleged herein violated Plaintiff's federally-protected rights;

 (b) That Defendants be ordered to reinstate Plaintiff to her former

 position of employment or an equivalent position, with restoration of her

 seniority and benefits as if Defendant had never discriminated or

 retaliated against her;

 (c) for an award of all actual, compensatory, and special damages

 against Defendant, with prejudgment interest thereon, based on the

 evidence adduced at trial and as allowed by law for each of the causes of

 action set forth herein, including:

        (1) special damages for economic injuries as a consequence of

        Defendant's violations of Plaintiff=s federally-protected rights;

       (2) compensatory damages for Plaintiff's pain and suffering,

       mental and emotional distress, anxiety, humiliation, outrage, loss




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       of professional and personal reputation, as a consequence of

       Defendants’ violations of her federally-protected rights;

       (3) all employee benefits of any type, or the equivalent value

       thereof, which the Plaintiff should have already received and is

       presently entitled to receive and/or would receive in the future, but

       for Defendants’ wrongful conduct as alleged herein;

       (4) back pay and retroactive increases in compensation, plus pre-

       and post-judgment interest thereon; and

       (5) front pay until Plaintiff is reinstated to her position or

       assigned to an equivalent or other appropriate position; and

       (6) liquidated damages under the FMLA.

 (d)   punitive damages as determined by the enlightened conscious of
       the jury;

 (e)   an assessment of costs of this action, including reasonable
       attorneys' fees;

 (f)   a trial by jury of all issues so triable; and

 (g)   all such other and further monetary and/or injunctive relief as

       allowed by law and/or deemed just and proper by the Court and/or

       the jury in this case based upon the causes of action set forth above

       and/or proven at trial.

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DATED:   August 23, 2021

                                        Respectfully submitted,

                                        /s/ Eric L. Register
                                        _____________________________
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